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                                                      June 15, 2022
VIA ELECTRONIC FILING
United States District Court
Eastern District of Pennsylvania



    Re: Dondiego, et al. v. Lehigh County Board of Elections, et al.; Docket No: 22-2111
Dear Judge Schmehl:

Please be advised that the parties have fully and finally settled this matter and respectfully
request that this matter be marked settled, discontinued, and dismissed with prejudice. Please feel
free to contact our office if you have any questions or concerns.

                                                              Respectfully yours,
                                                              /s/Matthew Mobilio
                                                              Matthew Mobilio



MM/cd
Cc:




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